Case: 5:22-cv-00231-DCR-MAS Doc #: 138 Filed: 02/21/24 Page: 1 of 1 - Page ID#: 967




                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION AT LEXINGTON
                                   CASE NO. 5:22-CV-231-DCR
                                      “Electronically Filed”

 EUGENE BAKER, et al                                                            PLAINTIFFS

 v.

 BLACKHAWK MINING, LLC
 and PINE BRANCH MINING, LLC                                                    DEFENDANTS


                                          NOTICE OF FILING


           Come the Plaintiffs, by counsel, and hereby give notice of filing of the exhibits to Daniel

 Wilson’s deposition, taken on December 13, 2023.

                                                         RESPECTFULLY SUBMITTED,


                                                         s:/Ned Pillersdorf
                                                         NED PILLERSDORF
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                                     CERTIFICATE OF SERVICE

       This is to certify that the foregoing was electronically filed on the CM/ECF server on the
      st
 21 day of February 2024.

                                                         s:/Ned Pillersdorf
                                                         NED PILLERSDORF
